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                     THIS UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HUDA FAKHREDDINE, TROUTT POWELL,
 and PENN FACULTY FOR JUSTICE IN
 PALESTINE,
                                                 No. 2:24-cv-01034 (MSG)
                              Plaintiffs,
        v.

 THE UNIVERSITY OF PENNSYLVANIA,

                              Defendant.




                                    [PROPOSED] ORDER

       AND NOW, this ____ day of ____________ 2024, it is hereby ORDERED that Defendant

University of Pennsylvania’s motion to dismiss Plaintiffs’ amended complaint with prejudice is

GRANTED.



It is so ORDERED.

                                                         BY THE COURT:



                                                         Hon. Mitchell S. Goldberg
